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MUSCARELLA, BOCHET,
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Counsel to Trustee
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                                                     UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF NEW JERSEY
                                                     CASE NO. 10-36159-NLW

In the Matter of:                            :
                                             :       TRUSTEE’S AFFIDAVIT IN SUPPORT
HENRY BELL,                                  :       OF MOTION TO DISMISS PETITION
                                             :       FOR FAILURE OF DEBTOR TO
                                Debtor.      :       COOPERATE WITH TRUSTEE.
                                             :

STATE OF NEW JERSEY )
                    ss:
COUNTY OF BERGEN    )

       BARBARA A. EDWARDS, of full age, being duly sworn according to law upon her oath,

deposes and says:

       1.     I am the duly appointed and acting Trustee in the within matter and I am fully familiar

              with the facts and circumstances herein.

       2.     I make this affidavit in support of a Motion to dismiss the within petition for failure of

              the debtor to cooperate with the Trustee.

       3.     The petition in this case was filed pursuant to Chapter 7 of the Bankruptcy Code on

              August 25, 2010.

       4.     The filing was made under emergent circumstances and the schedules were not filed with

              the petition.

       5.     The §341(a) hearing originally scheduled for September 23, 2010 was eventually

              rescheduled for March 14, 2011.
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       6.     The petition lists on Schedule A five pieces of real estate located in Jersey City, New

              Jersey and a sixth property in Pennsylvania.

       7.     I requested in writing on two occasions that I be provided with appraisals and verification

              of the balance due on any and all mortgages for all six properties.

       8.     Prior to the §341(a) hearing I received appraisals as to all six properties, however, I did

              not receive verification of the balances due on the mortgages for all of the properties.

       9.     After the §341(a) on March 14, 2011 I renewed my request for the mortgage information

              and further requested that the debtor amend Schedules B and C to reflect a pending

              workers’ compensation claim and a pending employment discrimination action along

              with information about the attorneys handling these claims and the values of these

              claims.

       10.    I have not yet received any of this information and the attorney for the debtor has not

              been in communication with me about this ongoing deficiency.

       11.    As a result, I cannot complete my investigation and administration of this matter.

       12.    Accordingly, it is respectfully requested that this Court enter an Order dismissing the

              within petition and vacating any discharge that may have been entered administratively.



                                                               /s/ Barbara A. Edwards
                                                             BARBARA A. EDWARDS, Trustee



Sworn and subscribed to
before me this 28th day of
April, 2011.

 /s/ Patrice L. Capozzi
Patrice L. Capozzi
Notary Public of New Jersey
My Commission Expires: June 15, 2013.
